                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                            DOCKET NO. 3:11-cr-00288-MOC

UNITED STATES OF AMERICA,                       )
                                                )
                                                )
                                                )
Vs.                                             )                       ORDER
                                                )
LUIS FERNANDO GONZALEZ,                         )
                                                )
               Defendant(s).                    )



       THIS MATTER is before the court on defendant’s Motion for a Rule 37 Indicative

Ruling. The government has not opposed the motion within the time allowed. See L.Cr.R.

47.1(E).

       On November 27, 2012, this court sentenced defendant at Offense Level 28 and Criminal

History Category II to 87 months imprisonment, which was at the low end of the advisory

guidelines range. Judgment was entered January 17, 2013, and defendant promptly filed a Notice

of Appeal. Defendant contends that on January 23, 2013, the North Carolina General Court of

Justice, District Court Division, vacated a conviction which had moved his Criminal History

from Category I to Category II. Defendant argues that such now-vacated conviction not only

elevated the advisory guidelines range, it also prevented application of the safety-valve

provisions of §5C1.2 of the United States Sentencing Guidelines.

       Although this matter is now on appeal to the Fourth Circuit, defendant seeks relief from

this court under newly effective Rule 37, Federal Rules of Criminal Procedure (added Jun. 30,

2011, eff. Dec. 1, 2012). In pertinent part, Rule 37 provides, as follows:




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       (a) Relief Pending Appeal. If a timely motion is made for relief that the court
       lacks authority to grant because of an appeal that has been docketed and is
       pending, the court may:

               (1) defer considering the motion;

               (2) deny the motion; or

             (3) state either that it would grant the motion if the court of appeals
       remands for that purpose or that the motion raises a substantial issue.

Fed.R.Crim.P. 37(a). Having considered the pending motion in light of Rule 37 and United

States v. Pettiford, 612 F.3d 270 (4th Cir. 2010), the court determines that defendant has

presented a substantial issue meriting a hearing. Having considered defendant’s motion and

reviewed the pleadings, the court enters the following Order.

                                            ORDER

       IT IS, THEREFORE, ORDERED that upon defendant’s Motion for a Rule 37

Indicative Ruling (#73), the court finds under Rule 37(a)(3) that such motion presents a

substantial issue meriting a hearing.

              Signed: February 26, 2013




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